                  UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF ALABAMA

In re                                                Case No. 14-32863-DHW
                                                     Chapter 13

DEBRA WATSON,

        Debtor.


        ORDER GRANTING MOTION TO SUBSTITUTE COLLATERAL

       The debtor filed a Motion to Substitute Collateral (Doc. #37) requesting to
use insurance proceeds due on a vehicle that was totaled. The debtor would like to
purchase a replacement vehicle with the insurance proceeds and grant Quantum3
Group LLC a lien on the replacement vehicle. The court held a hearing on the
matter on December 4, 2017. In accordance with the ruling from the bench in open
court, it is
      ORDERED that the motion is GRANTED and the debtor may use the
insurance proceeds to purchase a replacement vehicle. The debtor will grant
Quantum3 Group LLC a lien on the replacement vehicle.

        Done this 5th day of December, 2017.



                                                  Dwight H. Williams, Jr.
                                                  United States Bankruptcy Judge

c:       Debtor
         Joshua C. Milam, Attorney for Debtor
         Sabrina L. McKinney, Trustee
         Quantum3 Group LLC, Creditor




 Case 14-32863     Doc 40   Filed 12/05/17 Entered 12/05/17 11:06:28   Desc Main
                              Document     Page 1 of 1
